
66 So.3d 1035 (2011)
Keefe WESLEY, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-1149.
District Court of Appeal of Florida, Fifth District.
August 2, 2011.
Roger L. Weeden, Orlando, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Alvarez v. State, 827 So.2d 269 (Fla. 4th DCA 2002), review denied, 845 So.2d 887 (Fla.2003).
SAWAYA, MONACO and TORPY, JJ., concur.
